                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             ASHEVILLE DIVISION
                                  1:06cr251-2


UNITED STATES OF AMERICA,                          )
                                                   )
Vs.                                                )             ORDER
                                                   )
CHRISTOPHER ALLEN HUNTER,                          )
                                                   )
                  Defendant.                       )
________________________________________           )


        THIS CAUSE coming on to be heard and being heard before the undersigned upon

a violation report filed in the above entitled cause on November 13, 2007 and an addendum

to violation report filed on December 5, 2007, by the United States Probation Office. In the

violation reports the United States Probation Office alleged that the defendant had violated

terms and conditions of his pretrial release. At the call of this matter on for hearing it

appeared that the defendant was present with his counsel, Eric J. Foster, and that the

Government was present through Assistant United States Attorney, Don Gast, and from the

evidence offered and the statements of the Assistant United States Attorney and the attorney

for the defendant, and the records in this cause, the court makes the following findings.

        Findings:   At the call of the matter, the defendant, by and through his attorney,

denied the allegations contained in the violation report and the addendum to violation report

but stated that the defendant wished to surrender himself for detention.

        The defendant was charged in a bill of indictment filed on October 3, 2006 with one

count of conspiracy to possess with intent to distribute cocaine base, in violation of Title 21



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U.S.C. § 841 and 846. On January 31, 2007, a hearing was held in regard to the detention

of the defendant. On that date, the undersigned entered an order releasing the defendant on

a $30,000.00 unsecured bond. The undersigned further set conditions of release.

       In the violation report dated November 13, 2007 it is alleged that the defendant

violated the condition of release that he “shall not commit any offense in violation of federal,

state or local law while on release in this case” and alleged that he had been charged in

McDowell County, NC on October 20, 2007 with misdemeanor breaking and entering. In

the addendum to violation report, it is alleged that the defendant violated the condition of

release that required that he “refrain from any use of alcohol” and that on November 20, 2007

the defendant’s brother advised the defendant’s probation officer that the defendant had been

drinking and consuming alcohol and that an officer of the Marion Police Department had

seen the defendant intoxicated during the period of release. In the third violation which is

contained in the addendum to violation report, it is alleged that the defendant violated the

condition of release that required that he “comply with a 6:00 o’clock p.m. to 4:00 o’clock

a.m. curfew”

       Based upon the request of the defendant that he be detained, the undersigned finds that

it is not necessary that evidence be presented and the undersigned will grant the request of

the defendant and revoke the unsecured bond and the terms and conditions of pretrial release

previously entered in this matter.

       In making these findings, the undersigned finds that there is no condition or



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combination of conditions would assure that the defendant would not flee or pose a danger

to the safety of any other person or the community and that the defendant is unlikely to abide

by any condition or combination of conditions of release.

                                          ORDER

       IT IS, THEREFORE, ORDERED that the unsecured bond and terms and conditions

of pretrial release entered in this matter are hereby REVOKED at the request of the

defendant and it is ORDERED that the defendant be detained pending sentencing and

further proceedings in this matter.

                                              Signed: December 12, 2007




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